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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


 JEREMY SCHNEIDER, Individually and on                  Case No.
 Behalf of All Others Similarly Situated,

                                 Plaintiff,             CLASS ACTION COMPLAINT

                         v.
                                                        JURY TRIAL DEMANDED
 TELADOC HEALTH, INC., JASON
 GOREVIC, and MALA MURTHY,

                                 Defendants.


        Plaintiff Jeremy Schneider (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Teladoc Health, Inc. (“Teladoc” or the “Company”), analysts’ reports

and advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial, additional evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

        1.       This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Teladoc securities between

October 28, 2021 and April 27, 2022, both dates inclusive (the “Class Period”), seeking to recover


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damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.       Teladoc provides virtual healthcare services in the U.S. and internationally through

Business-to-Business (“B2B”) and Direct-to-Consumer (“D2C”) distribution channels.              The

Company offers its customers various virtual products and services addressing, among other

medical issues, mental health through its BetterHelp D2C product, and chronic conditions.

       3.       Teladoc touts itself as “the first and only company to provide a comprehensive and

integrated whole person virtual healthcare solution that both provides and enables care for a full

spectrum of clinical conditions[.]” Despite recent market concerns over new entrants to the

telehealth field, such Amazon.com, Inc. (“Amazon”) and Walmart Inc. (“Walmart”), the Company

has continued to assure investors of the Company’s dominant market position in the industry.

       4.       In fact, as recently as February 2022, Teladoc forecasted full year (“FY”) 2022

revenue of $2.55 - $2.65 billion, as well as adjusted earnings before interest, taxes, depreciation,

and amortization (“EBITDA”) of $330 - $355 million, on anticipated continued growth through

its competitive advantages.

       5.       Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and prospects. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (i) increased competition,

among other factors, was negatively impacting Teladoc’s BetterHelp and chronic care businesses;

(ii) accordingly, the growth of those businesses was less sustainable than Defendants had led

investors to believe; (iii) as a result, Teladoc’s revenue and adjusted EBITDA projections for FY

2022 were unrealistic; (iv) as a result of all the foregoing, Teladoc would be forced to recognize a




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significant non-cash goodwill impairment charge; and (v) as a result, the Company’s public

statements were materially false and misleading at all relevant times.

       6.       On April 27, 2022, Teladoc announced its first quarter (“Q1”) 2022 financial

results, including revenue of $565.4 million, which missed consensus estimates by $3.23 million,

and “[n]et loss per share of $41.58, primarily driven by [a] non-cash goodwill impairment charge

of $6.6 billion or $41.11 per share[.]” Additionally, the Company revised its FY 2022 revenue

guidance to $2.4 - $2.5 billion and adjusted EBITDA guidance to $240 - $265 million “to reflect

dynamics we are currently experiencing in the [D2C] mental health and chronic condition

markets.” On a conference call with investors and analysts that day to discuss Teladoc’s Q1 2022

results, Defendants largely attributed the Company’s poor performance, revised FY 2022

guidance, and $6.6 billion non-cash goodwill impairment charge to increased competition in its

BetterHelp and chronic care businesses.

       7.       On this news, Teladoc’s stock price fell $22.48 per share, or 40.15%, to close at

$33.51 per share on April 28, 2022.

       8.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       9.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       10.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.




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        11.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Teladoc is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

activities took place within this Judicial District.

        12.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                              PARTIES

        13.     Plaintiff, as set forth in the attached Certification, acquired the Company’s

securities at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.

        14.     Defendant Teladoc is a Delaware corporation with principal executive offices

located at 2 Manhattanville Road, Suite 203, Purchase, New York 10577. Teladoc’s common

stock trades in an efficient market on the New York Stock Exchange (“NYSE”) under the trading

symbol “TDOC”.

        15.     Defendant Jason Gorevic (“Gorevic”) has served as Teladoc’s Chief Executive

Officer at all relevant times.

        16.     Defendant Mala Murthy (“Murthy”) has served as Teladoc’s Chief Financial

Officer at all relevant times.

        17.     Defendants Gorevic and Murthy are sometimes referred to herein as the “Individual

Defendants.”




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       18.      The Individual Defendants possessed the power and authority to control the

contents of Teladoc’s SEC filings, press releases, and other market communications.             The

Individual Defendants were provided with copies of Teladoc’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Teladoc, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

were being concealed from the public, and that the positive representations being made were then

materially false and misleading. The Individual Defendants are liable for the false statements and

omissions pleaded herein.

       19.      Teladoc and the Individual Defendants are collectively referred to herein as

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       20.      Teladoc provides virtual healthcare services in the U.S. and internationally through

B2B and D2C distribution channels, serving employers, health plans, hospitals and health systems,

insurance and financial services companies, and individual members. The Company offers its

customers various virtual products and services addressing, among other medical issues, mental

health through its BetterHelp D2C product, and chronic conditions.

       21.      Teladoc touts itself as “the first and only company to provide a comprehensive and

integrated whole person virtual healthcare solution that both provides and enables care for a full

spectrum of clinical conditions[.]” Despite recent market concerns over new entrants to the




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telehealth field, such Amazon and Walmart, the Company has continued to assure investors of the

Company’s dominant market position in the industry.

         Materially False and Misleading Statements Issued During the Class Period

        22.     The Class Period begins on October 28, 2021, the day after Teladoc held a

conference call with investors and analysts to discuss the Company’s third quarter 2021 results

(the “Q3 2021 Earnings Call”). On that call, Defendant Gorevic provided preliminary FY 2022

revenue guidance of $2.6 billion, while simultaneously downplaying anticipated headwinds to the

Company’s chronic care business, stating, in relevant part:

        I want to provide some initial perspective on our expectations for 2022. As you
        know, it’s not our typical practice to comment on forward outlook at this point in
        the year. But we believe the additional color is appropriate given our insights at this
        stage of the selling season and our outlook on consolidated revenue growth for next
        year. First, we are as confident as ever in our multiple levers for growth in 2022
        and beyond. Our unique ability to deliver longitudinal, Whole-person care is a
        significant competitive advantage. And our leading position in all B2B and DTC
        channels enables us to fuel continued growth.

        Given our insights at this stage of the selling season, our preliminary outlook for
        consolidated revenue next year is approximately $2.6 billion . . . . Chronic care is
        just one of those levers for growth and is increasingly converging with others . . . .
        However, as we work through the 2022 planning process, we expect to be more
        conservative about growth expectations for standalone Chronic Care.

        Our preliminary outlook assumes standalone Chronic Care revenue will grow
        approximately 25% to 35%. And we believe strongly that our Chronic Care
        capabilities will also continue to unlock growth across our integrated suite of
        products and solutions. Our Whole-person care approach is clearly resonating with
        clients and consumers as their expectations for virtual healthcare delivery continue
        to move up the value chain and expand from transactional episodic demand toward
        integrated longitudinal care.

        23.     Also on the Q3 2021 Earnings Call, in response to a Credit Suisse analyst’s request

for more color on Defendants’ conservative view of chronic care for 2022, Defendant Gorevic

stated, in relevant part:




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        [W]hen we talk about Chronic Care management and our outlook, we’ve done a lot
        of work to make sure that we’re very focused on the discipline that we bring and
        have always brought to our management of the pipeline and are forecasting process
        . . . . We’ve -- I would say have been very successful in selling into the health plan
        channel over the course of this year and our pipeline’s still looks strong with new
        opportunities. Many of those opportunities, either the existing sales that we’ve
        made or the ones in our pipeline are the permission and the partnership with the
        health plan to go sell to their self-insured clients.

        That takes a couple of years to unlock the full value of it because you have to go
        through the renewal cycle and the selling cycle to those self-insured clients. And
        so, we’re trying to be very realistic about the sort of on-ramp of those clients in the
        health plan segment. With respect to the employer market, that’s a market where
        our products are extremely attractive. And historically, we’ve been very successful
        at selling into the employer market directly when we sell directly to large
        employers. That’s a market where the benefits managers have, I would say, paused
        over the course of this year more than we’ve seen it in the past and it’s really due
        to COVID and them being focused on the pandemic and return to work.

        24.     Despite expressing measured caution over the staggered “on-ramp” of certain

clients and the ongoing COVID-19 pandemic, Defendant Gorevic continued by assuring investors,

in relevant part:

        As I talked to our employer sales team, they see th[e employer market] picking up
        substantially as we get to the end of the year. And people are starting to get back to
        the office. And the benefits manager is starting to think about more of a return to
        normal. And so, they are optimistic as we look into next year’s selling cycle.

        25.     Similarly, also in response to the Credit Suisse analyst, Defendant Gorevic

addressed potential slowdowns in two other chronic care channels, while again simultaneously

assuring investors of the limited impact of those market conditions:

        And then there are two channels that I would say are just moving a little more
        slowly than we had originally anticipated. And again, we want to be conservative
        in our outlook. The broker channel, we had high expectations and we’re just starting
        to see that pick up now. It took a while to educate the brokers.

        We have a large distributed broker network. And it took a little while to educate
        them on a product set that they really didn’t have access to before. We’re now
        starting to see that pick up substantially and we’re excited about next year’s selling
        season for that. And then lastly, International. I think the international markets, we
        have to go through some both regulatory hurdles in terms of local certifications and



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       approvals, but also localizing our products to various international markets. And
       we’re doing that in a fairly methodical approach, market-by-market. So, I think we
       will see growth internationally, but we don’t have, really, anything in our plan for
       next year on a substantial basis.

       And then maybe the last thing I’ll say is that’s been -- I would say positively offset
       by our growth in the hospital and health system market where we’ve, we’ve noted
       before that we’ve seen especially risk-bearing hospitals really lean into the Chronic
       Care solutions. And that’s going better than we had expected. So, when you put all
       of that together and we take, I would say critical look at the pipeline and our
       forecast, that’s where we landed on that 25% to 35% outlook. Again, that’s a
       contributor to our overall outlook of approximately 2.6 billion in revenue next year.

       26.       On February 22, 2022, Teladoc issued a press release announcing the Company’s

fourth quarter (“Q4”) and FY 2021 results. That press release highlighted “[f]ull year 2022

Revenue guidance of $2.55 to $2.65 billion, representing 25% to 30% growth” (emphasis in

original), and provided FY adjusted EBITDA guidance of $330 - $355 million.

       27.       That same press release quoted Defendant Gorevic, who stated, in relevant part:

       “Teladoc Health took a huge step forward in bringing true whole-person care to life
       for consumers and clients in 2021 . . . . We successfully delivered against
       performance metrics[ and] solidified our position as the partner of choice for our
       clients . . . . Teladoc Health is clearly differentiated by the breadth and depth of our
       offerings, an integrated suite of virtual care services that connect individuals with
       chronic, primary, acute and specialty care. We saw meaningful growth and
       penetration across several key areas of our business, [including] in mental health
       through [inter alia] BetterHelp in the [D2C] space . . . .”

       “. . . . We . . . are equally excited about our role in 2022 and beyond as we continue
       to innovate, further evolving whole-person care, introducing new services like
       Chronic Care Complete, expanding into new markets and deepening our
       relationships with our clients and consumers[.]”

       28.       That same day, Teladoc held a conference call with investors and analysts to discuss

the Company’s Q4 and FY 2021 results (the “Q4/FY 2021 Earnings Call”). On that call, Defendant

Gorevic expressed his confidence in meeting Teladoc’s revenue guidance for FY 2022, stating, in

relevant part:




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       For [FY 2022], we expect revenue to be in the range of $2.55 billion to $2.65
       billion, representing growth of 25% to 30%. Our expectations for strong growth are
       a result of the broad-based momentum we continue to see across our suite of
       products and services and across geographies. We have over 90 million total
       individuals with access to the Teladoc platform today, and we see a significant
       opportunity for long-term growth by expanding our relationships and going deeper
       with our existing clients and members as we execute against our key strategic
       priorities across primary care, mental health and chronic care solutions.

       29.     With respect to Teladoc’s revenue and adjusted EBITDA guidance for FY 2022,

Defendant Murthy stated the following on the Q4/FY 2021 Earnings Call:

       For [FY] 2022, we expect revenue to be in the range of $2.55 billion to $2.65
       billion, representing growth of 25% to 30% over the prior year. We expect total
       membership of 54 million to 56 million members, representing growth of 1% to 5%
       year-over-year, with the remainder of revenue growth driven by expanding revenue
       per member driven both by increased product penetration and product mix.

       We expect adjusted EBITDA in 2022 to be in the range of $330 million to $355
       million, representing a 12.9% to 13.4% adjusted EBITDA margin and an expansion
       of approximately 90 to 140 basis points over 2021 after normalizing for last year’s
       purchase price accounting benefit. We expect total visits in 2022 to be between 18.5
       million and 20 million visits, representing growth of 20% to 30% over the prior
       year.

       30.     Additionally, also on the Q4/FY 2021 Earnings Call, in discussing “the expected

cadence of revenue and adjusted EBITDA growth over the course of [FY 2022,]” Defendant

Murthy stated, in relevant part:

       On the revenue side, we expect the timing of new chronic care client onboarding to
       be more heavily weighted towards the second half of this year. This includes the
       launch of large new health plan clients signed over the past several months . . .
       which are scheduled to onboard in the second half of this year. We, therefore,
       expect to see strong sequential growth in revenue over the course of the year.
       Specific to the second quarter, we expect an approximate $40 million to $50 million
       step-up in revenue from 1Q to 2Q.

       On the expense side, we normally see higher engagement marketing spend in the
       first half of the year as we prepare to onboard new clients and members. It’s also
       typical for us to see higher advertising spend early in the year as we take advantage
       of lower media pricing in the market following the conclusion of the more
       expensive holiday season. We expect that to be the case again this year, as we have




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       seen a more advantageous media buying landscape early this year, which has
       resulted in a slightly lower customer acquisition cost.

       This will impact the quarterly cadence of adjusted EBITDA, and we expect will
       result in a significant margin expansion progression over the course of 2022,
       particularly in the second half due to our expected revenue and enrollment ramp for
       the chronic care programs launching later this year as well as the typical seasonality
       of advertising spend over the course of the year.

       31.     On the same call, Defendant Murthy also assured investors of Defendants’ visibility

into Teladoc’s second half of FY 2022 results, stating, in relevant part:

       It’s important to note that the revenue and EBITDA ramp described is not
       dependent on significant new sales. The deals mentioned are contracts that have
       been signed over the past several months, but are disproportionately scheduled to
       onboard in the second half [of 2022]. And we, therefore, have good visibility into
       the second half revenue and EBITDA progression.

       32.     On February 28, 2022, Teladoc filed an annual report on Form 10-K with the SEC,

reporting the Company’s financial and operating results for the quarter and year ended December

31, 2021 (the “2021 10-K”). That filing assured investors of the Company’s continued dominant

market position and unique competitive strengths, stating, inter alia:

       We believe that Teladoc Health is the leading global virtual healthcare provider
       because of our strong competitive advantages that address the most pressing
       challenges and trends in the delivery of healthcare around the world. We believe
       our history of innovation and long-standing operational excellence provide us with
       significant first-mover advantages, and we continue to invest and expand our
       services and geographic footprint globally. As the first comprehensive virtual
       healthcare company providing whole person care at scale, we have pioneered
       solutions and created what we believe are collectively the telehealth industry’s first
       and only offerings of their kind.

                                               ***

       We believe that we are the first and only company to provide a comprehensive and
       integrated whole person virtual healthcare solution that both provides and enables
       care for a full spectrum of clinical conditions, including wellness and prevention,
       acute care, chronic conditions, and complex healthcare needs.




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        33.    With respect to Teladoc’s BetterHelp business, the 2021 10-K stated, in relevant

part:

        We plan to continue driving growth through investments in our D2C channels . . .
        . BetterHelp is the leader in the D2C therapy market, both in terms of the number
        of individuals enrolled and the number of providers who provide services on the
        platform. The scale of our data and provider network, powered by our data science
        capabilities, creates a competitive advantage for us in providing an optimal match
        of an individual with a provider, increasing the rate of success in therapy. We
        leverage diverse customer acquisition channels and increased organic sources of
        traffic, which reduces dependence on any single source of member acquisition.
        Even with our strong historical growth, we believe there is substantial untapped
        growth potential, both domestically and internationally, as almost half of
        BetterHelp members have never sought therapy before.

        34.    With respect to Teladoc’s chronic care business, the 2021 10-K stated, in relevant

part, that “[o]ur chronic care programs are one of the key components of our whole person virtual

care platform that we believe position us to drive greater engagement with our platforms and

increased revenue.”

        35.    Appended as exhibits to the 2021 10-K were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002, wherein the Individual Defendants certified that “[t]he [2021 10-K]

fully complies with the requirements of Section 13(a) or Section 15(d) of the [Exchange Act ], as

amended[,]” and that “[t]he information contained in the [2021 10-K] fairly presents, in all material

respects, the financial condition and results of operations of the Company.”

        36.    The statements referenced in ¶¶ 22-35 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and prospects. Specifically, Defendants made

false and/or misleading statements and/or failed to disclose: (i) increased competition, among other

factors, was negatively impacting Teladoc’s BetterHelp and chronic care businesses; (ii)

accordingly, the growth of those businesses was less sustainable than Defendants had led investors




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to believe; (iii) as a result, Teladoc’s revenue and adjusted EBITDA projections for FY 2022 were

unrealistic; (iv) as a result of all the foregoing, Teladoc would be forced to recognize a significant

non-cash goodwill impairment charge; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

                                       The Truth Emerges

       37.     On April 27, 2022, post-market, Teladoc issued a press release announcing its Q1

2022 financial results, including revenue of $565.4 million, which missed consensus estimates by

$3.23 million, and “[n]et loss per share of $41.58, primarily driven by [a] non-cash goodwill

impairment charge of $6.6 billion or $41.11 per share[.]” In addition, the Company revised its FY

2022 revenue guidance to $2.4 - $2.5 billion, down from previous guidance of $2.55 - $2.65 billion,

and revised its FY 2022 adjusted EBITDA guidance to $240 - $265 million, down from previous

guidance of $330 - $355 million, “to reflect dynamics we are currently experiencing in the [D2C]

mental health and chronic condition markets.” Specifically, according to Defendant Gorevic, as

quoted in that press release:

       In the D2C mental health market, higher advertising costs in some channels are
       generating a lower-than-expected yield on our marketing spend. In the chronic
       condition market, we are seeing an elongated sales cycle as employers and health
       plans evaluate their long-term strategies to deliver the benefits and care that their
       populations need.

       38.     Later that day, Teladoc held a conference call with investors and analysts to discuss

the Company’s Q1 2022 results. In his prepared remarks on that call, Defendant Gorevic stated

the following regarding how increased competition, lower growth, and lower yield from marketing

spend were negatively impacting the Company’s BetterHelp results:

       Over the past several weeks, we’ve seen lower-than-expected yield on marketing
       spend for BetterHelp, which is a reversal of the trends we experienced exiting 2021
       and in the early part of 2022. One example of this is paid search advertising, where
       we’ve seen a notable increase in rates for keywords associated with online therapy.



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       We believe the biggest driver of this dynamic is smaller private competitors
       pursuing what we think are low- or no-return customer acquisition strategies in an
       attempt to establish market share.

       Some of those same providers are also exploiting the temporary suspension of
       certain regulations associated with the national health emergency concerning the
       prescription of controlled substances. We believe these strategies are unsustainable
       in the long-term. This dynamic is likely to persist at least throughout the remainder
       of this year, however, resulting in growth and margin contribution from BetterHelp
       that is below our expectation in February.

                                                ***

       [G]iven the persistency of these trends over the past several weeks and the broader
       economic backdrop, we’ve incorporated this updated view into our forward
       outlook, including an assumed 10% lower revenue yield per dollar of ad spend for
       the full year.

       39.     Likewise, Defendant Gorevic stated the following regarding how increased

competition and other factors were negatively impacting the Company’s chronic care results:

       [W]e’re also seeing our chronic care sales pipeline developed more slowly than
       anticipated. Last October, we discussed two trends in the marketplace that we saw
       leading to an elongated selling cycle. The first was in the employer market, where
       we saw benefit managers focused on COVID and return to work, which we felt was
       contributing to a longer decision-making process. The second was a large pipeline
       of health plan deals that were simply harder to predict when it comes to timing
       given the size and complexity of those clients.

       At the beginning of this year, we were encouraged by very strong fourth quarter
       bookings and a robust late-stage pipeline. However, as we progressed through the
       first part of the year, we’re seeing clear signs of the slower bookings pace
       continuing.

       In addition to the factors we discussed last fall, we’re seeing clients inundated with
       a number of new smaller point solutions, which has created noise in the marketplace
       . . . . [W]e are in the process of taking a closer look at some of these forces that are
       impacting the near-term conversion of pipeline to revenue, and we’ll continue to
       make adjustments as necessary to address them.

       . . . [W]e’re not seeing deals progress at the pace that we expected.

       40.     Additionally, Defendant Gorevic revealed that BetterHelp had played a

disproportionate role in necessitating Teladoc’s revised FY 2022 guidance, stating, inter alia:



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       When comparing the impact to guidance from the items we’ve just discussed,
       approximately three quarters of the reduction to our 2022 revenue outlook is driven
       by lower expected growth at BetterHelp with the remainder primarily attributed to
       the lower expected revenue from our suite of chronic care products.

       For adjusted EBITDA, approximately two thirds of the reduction is driven by lower
       yield on advertising spend from BetterHelp. The remainder of the revision is driven
       primarily by our lower chronic care revenue outlook as well as a modest increase
       in our assumption for wage growth due to higher inflation as we grow our
       headcount in technology and development.

       As a result of these updates, we now expect revenue of $2.4 billion to $2.5 billion
       and adjusted EBITDA of $240 million to $265 million for fiscal year 2022 . . . . We
       are not providing today any guidance with respect to periods after 2022, and we’re
       evaluating whether there will be effects to our long-term revenue growth outlook.

       41.     On the same call, in her prepared remarks, Defendant Murthy stated the following

regarding Teladoc’s $6.6 billion non-cash goodwill impairment charge:

       Net loss per share in the first quarter was $41.58 compared to a net loss per share
       of $1.31 in the first quarter of last year. Net loss per share in the first quarter
       includes a non-cash goodwill impairment charge of $41.11 per share or $6.6 billion.
       The goodwill impairment was triggered by the sustained decline in Teladoc Health
       share price with the valuation and size of the impairment charge driven by a
       combination of recent market-based factors, such as an increased discount rate and
       decreased market multiples for a relevant peer group of high-growth digital health
       care companies as well as updates to our forecasted cash flows consistent with the
       revised guidance disclosed today.

       42.     On April 28, 2022, investor news resource Seeking Alpha published an article

entitled “Teladoc draws downgrades after 1Q revenue miss[,]” noting that the Company’s “shares

have lost more than a third of value to reach a 52-week low on Thursday after the telehealth

company missed Street forecasts for its 1Q 2022 revenue prompting many analysts to downgrade

the stock[,]” while citing analysts from Citi, Credit Suisse, and Wells Fargo, stating:

       The financials “reveal cracks in TDOC’s whole health foundation as increased
       competitive intensity is weighing on growth and margins,” Citi analyst Daniel
       Grosslight said after discussions with the management.




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       The issues were particularly notable in the company’s fastest growing direct-to-
       consumer mental health and chronic care segments, which, according to the analyst,
       were expected to drive growth over the next three years.

       Despite the reluctance to make widespread changes to the thesis based only on one
       poor quarter, Grosslight said: “We are doubtful that we will see the competition-
       driven headwinds abate anytime soon.”

       Expecting Teladoc (TDOC) shares to trade in a narrow range over the next twelve
       months, the analyst downgrades the stock to Neutral from Buy, with the price target
       lowered to $43 from $115 per share, implying a downside of ~23.2% to the last
       close.

       Credit Suisse analysts led by A.J. Rice downgraded Teladoc (TDOC) to Neutral
       from Outperform, noting, among other things, the company’s underwhelming full
       year outlook. The price target slashed to $35 from $114 per share indicates a
       downside of ~38% to the last close.

       “TDOC is seeing an elongated sales cycle as employers and health plans evaluate
       their long-term strategies to deliver the benefits and care their populations need,”
       the team noted.

       The analysts argue that, as a result the company has lowered its estimate for revenue
       yield for dollar of ad spend and recognized a $6.6B goodwill impairment to reflect
       ~75% and ~66% decline in revenue and EBITDA, respectively.

       Q1 results disprove its Bullish thesis and signals “significant uncertainty for the
       trajectory of revenue and margins over both the near and intermediate term,” Wells
       Fargo’s Stephen Baxter and Stan Berenshteyn wrote as they downgraded the stock
       to Equal Weight from Overweight. The price target lowered to $40 from $104 per
       share implies a downside of ~29% to the last close.

       43.    Following these developments, Teladoc’s stock price fell $22.48 per share, or

40.15%, to close at $33.51 per share on April 28, 2022.

       44.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




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                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        45.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Teladoc securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        46.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Teladoc securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Teladoc or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        47.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        48.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.




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       49.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                 whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;

                 whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business, operations and
                  management of Teladoc;

                 whether the Individual Defendants caused Teladoc to issue false and misleading
                  financial statements during the Class Period;

                 whether Defendants acted knowingly or recklessly in issuing false and misleading
                  financial statements;

                 whether the prices of Teladoc securities during the Class Period were artificially
                  inflated because of the Defendants’ conduct complained of herein; and

                 whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

       50.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       51.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

                  Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

                  the omissions and misrepresentations were material;

                  Teladoc securities are traded in an efficient market;



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                   the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

                   the Company traded on the NYSE and was covered by multiple analysts;

                   the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

                   Plaintiff and members of the Class purchased, acquired and/or sold Teladoc
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        52.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        53.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        54.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        55.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        56.       During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under


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which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Teladoc securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Teladoc

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

       57.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Teladoc securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Teladoc’s finances and business prospects.

       58.      By virtue of their positions at Teladoc, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.




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        59.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Teladoc, the Individual Defendants had knowledge of the details of Teladoc’s

internal affairs.

        60.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.      Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Teladoc. As officers and/or directors of a publicly-held company, the Individual Defendants had

a duty to disseminate timely, accurate, and truthful information with respect to Teladoc’s

businesses, operations, future financial condition and future prospects.          As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Teladoc securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Teladoc’s business and financial condition which were

concealed by Defendants, Plaintiff and the other members of the Class purchased or otherwise

acquired Teladoc securities at artificially inflated prices and relied upon the price of the securities,

the integrity of the market for the securities and/or upon statements disseminated by Defendants,

and were damaged thereby.

        61.     During the Class Period, Teladoc securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Teladoc

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired




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said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Teladoc securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Teladoc securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

          62.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          63.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

          64.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          65.   During the Class Period, the Individual Defendants participated in the operation

and management of Teladoc, and conducted and participated, directly and indirectly, in the

conduct of Teladoc’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Teladoc’s misstatement of income and expenses and false financial

statements.




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       66.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Teladoc’s

financial condition and results of operations, and to correct promptly any public statements issued

by Teladoc which had become materially false or misleading.

       67.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Teladoc disseminated in the marketplace during the Class Period concerning

Teladoc’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Teladoc to engage in the wrongful acts complained of herein.

The Individual Defendants, therefore, were “controlling persons” of Teladoc within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Teladoc securities.

       68.     Each of the Individual Defendants, therefore, acted as a controlling person of

Teladoc. By reason of their senior management positions and/or being directors of Teladoc, each

of the Individual Defendants had the power to direct the actions of, and exercised the same to

cause, Teladoc to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Teladoc and possessed the

power to control the specific activities which comprise the primary violations about which Plaintiff

and the other members of the Class complain.

       69.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Teladoc.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:




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       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: June 6, 2022                                     Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman
                                                        J. Alexander Hood II
                                                        James M. LoPiano
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                                                        jlopiano@pomlaw.com

                                                        Attorneys for Plaintiff




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                                              CERTIFICATION PURSUANT
                                            TO FEDERAL SECURITIES LAWS


                     1.      I, __________________________________________,
                                 Jeremy Schneider                           make this declaration

            pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

            21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private

            Securities Litigation Reform Act of 1995.

                     2.      I have reviewed a Complaint against Teladoc Health, Inc. (“Teladoc” or the

            “Company”) and authorize the filing of a comparable complaint on my behalf.

                     3.      I did not purchase or acquire Teladoc securities at the direction of plaintiffs’ counsel

            or in order to participate in any private action arising under the Securities Act or Exchange Act.

                     4.      I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Teladoc securities during the class period, including providing

            testimony at deposition and trial, if necessary. I understand that the Court has the authority to

            select the most adequate lead plaintiff in this action.

                     5.      The attached sheet lists all of my transactions in Teladoc securities during the Class

            Period as specified in the Complaint.

                     6.      During the three-year period preceding the date on which this Certification is

            signed, I have not served or sought to serve as a representative party on behalf of a class under the

            federal securities laws.

                     7.      I agree not to accept any payment for serving as a representative party on behalf of

            the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

            reasonable costs and expenses directly relating to the representation of the class as ordered or

            approved by the Court.
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                     8.      I declare under penalty of perjury under the laws of the United States of America

            that the foregoing is true and correct.




                      5/10/2022
            Executed _____________________________
                         (Date)



                                                             _______________________________________
                                                                   (Signature)


                                                               Jeremy Schneider
                                                             _______________________________________
                                                                    (Type or Print Name)
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Teladoc Health, Inc. (TDOC)                                                   Jeremy Schneider

                                        List of Purchases and Sales

    Transaction                                         Number of           Price Per
       Type                   Date                      Shares/Unit        Share/Unit

      Purchase                       12/1/2021                        15                $98.2500
      Purchase                        1/5/2022                        20                $84.0000
      Purchase                        2/8/2022                        50                $70.0000
